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Prebi|l Number 80945 Bi||ing Tkpr. Campbell, Karla
Prebi|l Date 02/12/2015 Bi||ed Through: 02/28/2015
004856 l\/chEHEE, GR|SELDA GR|SELDA MCGEHEE
14326 FLSA C/O KMC
FLSA
MATTER SUMMARY HO|d
Fee Total $15,731.25 Bill
Expense Total $570.00 Bi|| With Comments
Discount $0.00
PPD Applied $0.00 C°mme“ts-
Trust App"ed $0'00 Bi||ing Freq: On Request
CURRENT CHARGES $16,301.25 CONT|NGENT
FEE RECAP
Stranch, l|l, James G. 1.50 425.00 $637.50
Campbell, Kar|a 35.00 375.00 $13,125.00
London, Lisseth S 11.25 75.00 $843.75
Be||amy, Raquel L 4.50 250.00 $1,125.00
Total 52.25 $15,731.25
M
Status Date Tkpr Desc Hours Rate Amount
Bil| 07/17/14 KMC Confer With RB about fraud issues in l\/larquez client 0.20 $375 $75.00
meeting.
Bi|l 07/20/14 KMC Research on elements of fraud and conspiracy to 1.00 $375 $375.00
defraud and pleading standards
Bil| 07/21/14 KMC Pre-meeting preparation of retainers; questionnaires; 1.70 $375 $637.50
confer W/RB re: viable claims and areas that need
more research; meeting With potential client group
and confer W/RB; research on federal fraud claims.
Bill 07/21/14 RLB initial Consultation With potential plaintiffs. 1.40 $250 $350.00
Bi|l 07/22/14 KMC Review of RB case notes on group meeting; 1.00 $375 $375.00
additional info needed; research on business status
of DGS.
Bill 07/22/14 RLB Confer With KMC about client meeting and next 2.00 $250 $500.00
steps.
Bill 07/25/14 KMC Drafting demand letter to DGS. 0.40 $375 $150.00
Bill 07/25/14 RLB Client communication about status of case. 0.20 $250 $50.00

Prebil| Number 80945 Bi||ing Tkpr. Campbell, Karla

 

 

 

 

Prebil| Date 02/12/2015 Bi||ed Through: 02/28/2015
Bill 07/31/14 KMC Calculating damages for each client. 1.20 $375 $450.00
Bill 07/31/14 RLB Document review (client time sheets). 0.30 $250 $75.00
Bill 08/01/14 KMC Drafting demand letter to ER; research on conflict 1.10 $375 $412.50

w/potential plaintiff Himelda Guzman.

 

 

Bill 08/01/14 RLB Client communication with Hilda Marquez re: criminal 0.30 $250 $75.00
investigation
Bill 08/04/14 KMC Drafting letter to Himelda Guzman withdrawing from 0.30 $375 $112.50

representation due to conflict.

 

Bill 08/05/14 KMC Call from client lVcheHee re: communications 0.10 $375 $37.50
w/defendant, new information re: other banks.

 

Bill 08/11/14 Kl\/lC Drafting FLSA Complaint; meeting with client 2.80 $375 $1,050.00
Griselda and potential opt-in Chavez.

 

Bill 08/12/14 JGS l\/leeting with KMC to discuss collective strategy. 0.30 $425 $127.50

 

Bill 08/12/14 Kl\/lC Drafting and revising Complaint; confer w/JGS re: 0.50 $375 $187.50
strategy w/ opt-ins vs. naming all plaintiffs.

 

 

 

 

Bill 08/13/14 KMC Revising Complaint w/ client comments 3.00 $375 $1,125.00

Bill 08/13/14 RLB Document review. 0.30 $250 $75.00

Bill 08/14/14 KMC Confer w/Lisa re: summonses, service and filing 0.20 $375 $75.00
Complaint.

Bill 08/15/14 JGS Review draft of complaint; meeting with Karla 0.60 $425 $255.00

Campbell relating to contents of complaint.

 

Bill 08/15/14 KMC Filing Complaint, civil cover sheet, summonses, etc. 0.40 $375 $150.00

 

Bill 08/21/14 KMC Confer w/Lisa re: effective service of process on 0.30 $375 $112.50
Deft. l\/liller; review of ECFS.

 

Bill 08/29/14 Kl\/lC Research on criminal record of defendant l\/liller. 0.20 $375 $75.00

 

Bill 09/04/14 KMC Confer w/Lisa re: status of service of process; 0.20 $375 $75.00
update from server.

 

Bill 09/08/14 KMC Confer w/Lisa re: service of th. Miller on Attorney; 0.30 $375 $112.50
research on bar status of atty. Sche|l.

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Prebi|l Number 80945 Bi||ing Tkpr. Campbel|, Karla
Prebi|l Date 02/12/2015 Bi||ed Through: 02/28/2015

Bill 09/09/14 KMC Call from Atty. Griffin Dunham re: settlement; 3.70 $375 $1 ,387.50
contacting clients re: total figures for bank fees;
updating total damages calculations

Bill 09/10/14 KMC Email communications with Atty. Dunham re: 0.90 $375 $337.50
demand and follow up; confer with Lisa M. re:
Service of process on l\/liller.

Bill 10/02/14 KMC Email communications w/ Atty. Dunham re: status of 0.30 $375 $1‘|2.50
settlement discussions

Bill 10/08/14 KMC Communications w/Atty's Dunham and Schell re: 0.40 $375 $150.00
status of their representation

Bill 10/09/14 KMC Calls to clients McGeHee and Marquez on status of 0.40 $375 $150.00
case.

Bill 10/20/14 KMC Drafting letter to l\/lag. Judge Bryant re: case mgmt. 0.40 $375 $150.00
conf

Bill 10/20/14 Ki\/lC Attending case management conference 0.80 $375 $300.00

Bill 10/28/14 Kl\/lC Drafting motion for entry of default. 0.70 $375 $262.50

Bill 11/04/14 KMC Call to and return call from Defendant Miller re: 0.60 $375 $225.00
status of case, appearance of her new counsel, etc.;
lexis research on l\/liller's address.

Bill 11/05/14 KMC Confer w/law clerk re: motion for entry of default 0.30 $375 $112.50
judgment.

Bill 11/14/14 KMC Review of clerk‘s entry of default. 0.20 $375 $75.00

Bill 12/17/14 JGS Te|econference with Attorney Nathan Colburn about 0.60 $425 $255.00
additional DGS workers; meeting with Karla
Campbell; communications with Karla Campbell.

Bill 12/17/14 KMC Conference with J. Stranch re: pending case from 0.20 $375 $75.00
Nathan Colburn

Bill 12/17/14 LL l\/leeting with clients to review and sign Affidavits. 2.50 $75 $187.50

Bill 12/19/14 KMC Review affidavits on calculation of damages drafted 0.40 $375 $150.00
by L. London; revisions to same

Bill 12/19/14 LL Drafting, and translating into Spanish, Affidavits for 5.50 $75 $412.50

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l\/chehee Case

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Prebill Number 80945 Bi||ing Tkpr. Campbell, Karla
Prebill Date 02/12/2015 Bi||ed Through: 02/28/2015

 

 

Bill 12/22/14 KMC Meeting with clients to discuss status of DGS 0.90 $375 $337.50
litigation and plan to sue Wells Fargo under
TCPA/fraud; conference with L. London about client
communications and next steps

 

Bill 12/22/14 LL Meeting with clients to review and sign Affidavits. 3.25 $75 $243.75

 

Bill 12/23/14 KMC Review signed affidavits; recalculation of damages 1.50 $375 $562.50
for Dilcia Amaya

 

Bill 12/30/14 Kl\/lC Call from client Hilda Marquez about total damages 0.30 $375 $112.50
and next steps.

 

 

 

Bill 12/31/14 KMC Call to clients Kenia Aguilar and Dilcia Amaya re: 0.20 $375 $75.00
affidavit

Bill 01/02/15 Kl\/lC Drafting Motion for Default Judgment and Campbell 5.40 $375 $2,025.00
Declaration.

Bill 01/08/15 KMC Calls to Kenia and Dilcia; confer w/ LL re: Revised 0.30 $375 $112.50

affidavits for Kenia and Dilcia.

 

 

 

 

 

 

Bill 01/22/15 KMC Finalizing and filing motion for defaultjudgment. 2.20 $375 $825.00
EXPENSE DETAIL

Status Date Desc Amount
Bill 08/14/2014 Clerk of U.S. District Court; invoice # Filing Fee; Filing Fee $400.00
Bill 09/11/2014 Legal Eagles Process Service; invoice # 140907; Service of $170.00

Process, Deborah l\/liller, attempted at 1113 Murfreesboro Rd.
and P. Edward Schell accepted at 509 New Hwy 96

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Prebill Number 80945

Bi||ing Tkpr. Campbell, Karla

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Prebill Date 02/12/2015 Bi||ed Through: 02/28/2015
BD/LUSLNDS A/Mm_a'!
PPD Balance $0.00 Balance Forward $0.00
Trust Balance $0.00 Payments Rec'vd $0.00
AR Adjustments $0.00
W Net Balance Fwd. $U.OO
Fee Total $15 731 .25 .
’ AlR A ln
Expense Total $570.00 _QJ
Discount $0.00 0 ' 30 Days $0'00
PPD Applied $0.00 31 ' 60 Days $0-00
Trust Applied $0.00 61 ' 90 Days $0'00
cuRRENT cHARGEs $16,301.25 91 ' 120 D"‘ys $0'00
Over 121 Days $0.00
inception to Date - FEES inception to Date - EXPS
Bi||ed $0.00 Bi||ed $0.00
Received $0.00 Received $0.00
WlP Adjs. $0.00 WlP Adjs. $0.00
AlR Adjs. $0.00 NR Adjs. $0.00

 

 

 

 

 

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